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                IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                          JACKSON DIVISION


UNITED STATES OF AMERICA

VS.                                      CASE NO. 3:12-CR-88-DCB-FKB-003


WILLIE EARL CULLEY


                                      ORDER

      Before the Court is Willie Earl Culley’s Motion to Dismiss

Motion filed for Notice of Appeal.            Having fully considered all

issues, the Court is of the opinion that the relief requested

should be and is hereby GRANTED.

      SO ORDERED this the      15th     day of October, 2013.




                                       s/David Bramlette
                                      United States District Judge
